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lN THE UNITED STATES DISTRIC'I` COURT
FOR THE DISTRICT OF NORTH DAKOTA

 

 

EQUAL EMPLOYMENT OPPORTUNITY )
COMMIS SION, )
)
Plaintiff, ) Civil Action No. 4:15-cv-00037
) (LLP-ARS)
)
V- )
)
CUDD ENERGY SERVICES, ) CONSENT DECREE
)
Defendant. )
)
INTRODUCTION

Plaintiff Equal Employment Opportunit)r Commission (“EEOC”) has filed a
Complaint EEOC v. Cudd Energy Services, Civil No. 4:15-cv-0003'7 (RRE-ARS),
alleging that Defendant Cudd Energy Services (“Defendant” or “Cudd Energy” )
discriminated against Alexis Villanueva when it subjected him to harassment based on
his race, Asian, and terminated his employment based on his race, and in retaliation for
his complaints about the racial harassment in Violation of Section 703(a), 42 U.S.C.
§ZOOOe-Z(a) and 704(a), 42 U.S.C. §2000e-3(a). The Court has granted summary
judgment to Cudd Energy on the claims related to race discrimination and retaliation
Cudd Energy has denied and continues to deny all claims and believes that at all times it
acted in compliance With applicable law.

In reaching this Consent Decree, the EEOC and Defendant, acting by and through

their counsel, engaged in negotiations and an exchange of information 'Ihe parties have

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obtained sufficient information to assess reliably the relative merits of the claims and
defenses. Throughout this process, the EEOC and`Defendant were represented by counsel
knowledgeable in this area of the law.

THEREFORE, upon the consent of the parties, and upon review by the Court of
these terms, it is ORDERED, ADJUDGED, and DECREED that the following terms are
approved as set forth herein:

I. JURISDICTION

A. This Court has jurisdiction over the parties and the subject matter of this
action.

B. This Court shall retain jurisdiction of this action during the duration of this
Decree for the purposes of entering all orders, judgments, and decrees that may be
necessary to implement the relief and enforcing compliance with the terms provided
herein.

[l. FINDINGS

A. The purposes of Title VII and the public interest will be furthered by the
entry of this Decree.

B. The terms of this Decree constitute a fair and equitable settlement of this
action.

111 SCOPE

The EEOC agrees that it will not bring any further claim against Defendant based

on the charge of discrimination filed by Alexis Villanueva underlying this lawsuit and

that this charge will not be otherwise used by the EEOC. By entering into this Decree the

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parties do not intend to resolve any other charges of discrimination currently pending
before the EEOC other than the charge that created the procedural foundation for the
Complaint in this case, and the EEOC does not waive or in any manner limit its right to
process or seek relief in any other charge or investigation
IV. DEFINITIONS

As used herein, “Cudd Energy” shall refer to Cudd Energy and its officers, agents,
managers and supervisory employees assigned to Defendant’s business operations
located in or in close proximity to Williston, North Dakota. All relief referred to in this
Consent Decree is limited to Cudd Energy’s business operations in or in close proximity
to Williston, North Dakota.
V. TERM

The Term of this Decree and all obligations hereunder shall be three (3) years

from the Effective Date hereof. The Effeotive Date hereof shall be the date that the
District Court approves this Consent Decree.
Vl. INJUNCTION

Cudd Energy shall not engage in any form of racial harassment made unlawful
under Title VII.
VII. EM]?LOYMENT REFERENCE

In keeping with its practices, Cudd Energy will provide only a neutral employment
reference, including dates of employment and position held, for Alexis Villanueva.
VIII. POLICIES AND TRA]_NING

A. Within sixty (60) days after the Effective Date hereof, Cudd Energy will

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review its workplace policies relating to racial harassment and revise any policies
inconsistent with Title VII.

B. On an annual basis for the term of this Consent Decree, Cudd Energy will
train all of its management personnel in Williston, North Dakota on Title V]I’s provisions
prohibiting racial harassment The training may also include information about other
laws prohibiting discrimination and harassment in the workplace and about Defendant’s
equal employment opportunity policies. The training must be provided by a live, in-
person trainer. An agenda for the training, training materials, and resumes relating to the
presenters will be provided to the EEOC at least 30 days before each training session.
The first annual training shall total no less than one hour. Each subsequent training shall
total no less than one hour, which may be presented in a one hour session, or as two
thirty-minute training sessions The EEOC shall be notified of the time and date of each
scheduled training.

C. On an annual basis for the term of this Consent Decree, Cudd Energy will
train all of its non-management employees in Williston, North Dakota on their rights as
employees to be free from racial harassment under Title V]]. Such training shall include
Defendant’s equal employment opportunity policies and the process for making
complaints about harassment intemally, and advise them of their right to file charges of
discrimination with the EEOC or other fair employment practices agencies An agenda
for the training, training materials, and resumes relating to the presenters, will be
provided to the EEOC at least 30 days before each training session.

D. At the beginning of each training session held under this Decree, the

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Regional Manager or District Manager will introduce the trainer and affirm that
Defendant takes its obligations under all EEO laws and prohibitions seriously.
IX. POSTING TO EMI_’LOYEES

A. Cudd Energy will post the Notice attached as Exhibit A at its facility in
Williston, ND. Exhibit A will be posted irl locations where notices for employees are
generally posted, and Shall remain in place for the term of this Decree. Defendant shall
take steps to ensure that the posted Notice remains unobscured and, during the term of
this Decree, will replace any damaged or defaced Notices.
IX. REPORTING

A. On an annual basis during the term of this Decree, Cudd-Energy shall
submit to the EEOC a certification of compliance with this f)ecree, including that it has
reviewed its workplace policies regarding racial harassment, revised any racial
harassment policies inconsistent with Title VII, and it has conducted the training of its
personnel as required by this Decree. After the first report to the EEOC, Defendant’s
subsequent annual reports shall document any further revisions or changes to its
workplace policies regarding racial harassment

B. Cudd Energy shall provide the EEOC with a list of all complaints of racial
harassment inade during that period at or in close proximity to its operations in Williston,
ND with a description of the allegation made, including: (1) the name of the complaining
party; (2) a description of the facts of the complaint; and (3) a description of Defendant’s
actions in response to the complaint. Upon the EEOC's request, Defendant shall make

the underlying documents or records available to the EEOC within ten days of request.

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XI. MONETARY REMEDY

A. Cudd Energy agrees to pay $39,900.{}0 to Alexis Villanueva in resolution
of this matter within ten (10) days after the Effective Date hereof so long as it has
received the release attached as Exhibit B at or before that time.

B. Villanueva’s execution of the release attached as Exhibit B will be a _
condition precedent of his receipt of relief under this Decree.

C. Defendant will provide Villanueva with a 1099 tax form reflecting the
payment of $39,900.00 for Villanueva’s compensatory damages Defendant will provide
the EEOC with a copy of the check and any related correspondence provided to
Villanueva.

XII. NOT]FICATION OF SUCCESSORS

The terms of this Consent Decree shall be binding upon the present and future
directors, officers, managers, agents, successors and assigns of Cudd Energy. Defendant
and any successors of it shall provide a copy of this Decree to any organization or person
who proposes to merge with it, or any successor, prior to the effectiveness of any such
asset sale, acquisition or merger. This paragraph shall not be deemed to limit any
remedies available in the event of any finding by the Com't regarding violation of this
Decree.

X]]I. `DISPUTE RESOLUTION

The EEOC will give Cudd Energy ten (10) business days notice of any alleged

noncompliance with the terms of the -Decree before initiating enforcement actions under

this Decree. If Defendant has not remedied the alleged non-compliance or has not

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satisfied the EEOC that it has complied with the Decree at the end of that period, the
EEOC may apply to the Court for appropriate relief.
XIV. COl\TPLIANCE REVlEW

The EEOC may review Cudd Energy’s compliance with the aforementioned
provisions of this Decree during the term of this Decree upon written notice to
Defendant’s attorney of record at least ten (10) business days in advance of any
inspection of Defendant’s documents or premises The notice shall state the basis upon
which ElE`,OC believes that there is non-compliance requiring such review. If Defendant §
believes that no review is warranted, Defendant shall inform the EEOC of the reasons,
and the parties agree to Work cooperativer to resolve any disagreement Upon such
notice, Defendant will allow representatives of the EEOC to review its compliance with
this Decree by inspecting and photocopying relevant, non-privileged documents and
records, interviewing employees and management officials on its premises, and
inspecting its premises lfthe parties do not agree, EEOC may ask the Court to allow

such review.

XV. COSTS AND ATTORNEYS FEES

Each party shall bear that party's own costs and attorney's fees
By the Cou rt:

IT IS SO ORDERED.

Dated: §@4 l§\ ,2013 P(MQUJ-LRJ¢¢G-~

\Lzlwrence L. Piersol -
United States District Judge l

 

 

 

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[Cudd Energy Lettei‘head]

EXH]BIT A

NOTICE 'I`O EMPLOYEES

This Notice is posted pursuant to a Consent Decree resolving a lawsuit with the United
States Equal Employment Opportunity Commission ("EEOC"). The EEOC brought suit
against Cudd Energy Services, alleging that it discriminated against a former employee
by subjecting him to racial harassment, race discrimination and retaliation in violation of
Title VII of the Civil Rights Act of 1964. The Court has granted summary judgment to
Cudd Energy on the claims related to termination and retaliation. Cudd Energy has
denied and continues to deny all claims and believes that at all times it acted in
compliance with applicable law.

The Consent Decree resolving this lawsuit provides a monetary settlement to Alexis
Villanueva, requires training for Cudd Energy’s personnel based in or in close proximity
to Williston, North Dakota on Federal laws prohibiting racial harassment, and mandates
regular reporting to the EEOC.

If you have a question about the Consent Decree, you should contact the Minneapolis
office of the EEOC at 612-335~4040. You can find out more about the EEOC and the
laws that it enforces by going to
http://www.eeoc.govhttp://www.eeoc.govht;tp://www.eeoc.gov.

 

Regional Manager
Cudd Energy Services

 

 

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EXH]BIT B
RELEASE AN]) WAIVER

ln consideration for $39,900.00 paid by Cudd Energy Services, in connection with the
resolution of EEOC v. Cudd Energy Services, Civil No. 4:l$-cv-00037 (LLP-ARS), I
waive the right to recover for any claims of harassment, discrimination or retaliation

under Title VII of the Civil Rights Act of 1964 that were the subject of this EEOC

lawsuit

Date: Signature:

 

Alexis Villanueva

 

